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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 19-21148-CV-SCOLA/TORRES


  BRYAN BOIGRIS,

        Plaintiff/Counter-Defendant,

  v.

  EWC P&T, LLC,

        Defendant/Counter-Plaintiff.

  _____________________________________/

                 REPORT AND RECOMMENDATION ON EWC’S
                         MOTION TO TAX COSTS

        This matter is before the Court on Defendant/Counter-plaintiff EWC P&T,

  LLC’s (“EWC”) motion for taxable costs against Bryan Boigris (“Plaintiff”). [D.E.

  125]. No timely response in opposition to the motion has been filed. Therefore, the

  motion is ripe for disposition.1 After careful review of the motion and supporting

  record, EWC’s motion should be GRANTED in part and DENIED in part.

                                I.     BACKGROUND

        On March 25, 2019, Plaintiff initiated this action to appeal a final order issued

  by the United States Patent and Trademark Office (“USPTO”) denying Plaintiff’s

  application to register three trademarks.    [D.E. 1]. Plaintiff’s complaint sought

  declaratory relief and that this Court reverse the USPTO’s decision. On July 8, 2019,



  1     On March 18, 2020, the Honorable Robert N. Scola, Jr. referred this motion to
  the undersigned Magistrate Judge for disposition. [D.E. 126].
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  EWC answered the complaint and asserted a counterclaim against Plaintiff seeking

  declaratory relief to affirm the USPTO’s decision (Counts I and II) and for alleged

  violations of the Anti-Cybersquatting Consumer Protection Act (Count III) and the

  Unfair Trade Practices Act (Count IV).

        On February 18, 2020, the Court entered summary judgment in favor of EWC

  on Counts I, II, and III of its counterclaims and against Plaintiff on all his claims.

  [D.E. 117, 119]. 2 On March 18, 2020, EWC filed this motion to recover its costs

  taxable under 28 U.S.C. § 1920 in the amount of $12,622.21. [D.E. 125].

                    II.   APPLICABLE PRINCIPLES AND LAW

        Under Fed. R. Civ. P. 54(d)(1), a prevailing party is entitled to recover costs as

  a matter of course unless directed otherwise by a court or statute.           A strong

  presumption exists in favor of awarding costs. Id. A court may tax as costs those

  expenses enumerated in 28 U.S.C. § 1920. See Crawford Fitting Co. v. J.T. Gibbons,

  Inc., 482 U.S. 437, 445 (1987) (absent explicit statutory or contractual authorization,

  federal courts are bound by the limitations set out in § 1920).         “To defeat the

  presumption and deny full costs, a district court must have a sound basis for doing

  so.@ Chapman v. AI Transp., 229 F.3d 1012, 1039 (11th Cir. 2000). A court should

  not take into consideration the relative wealth of the parties, as it would undermine

  the presumption that Rule 54(d)(1) creates in favor of the prevailing parties. Id.3



  2     The Court denied EWC’s motion for summary judgment for Count IV.

  3     The following costs are permitted under 28 U.S.C. § 1920:
        (1) Fees of the clerk and marshal;
        (2) Fees for printed or electronically recorded transcripts necessarily


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         Upon the filing of a timely motion or bill of costs, which sets forth in detail the

  amounts requested, the opposing party has the burden of showing that the requested

  costs fall outside the scope of this statute or are otherwise unreasonable. See, e.g.,

  Eugene v. 3Don & Partner Estate Group, LLC, 2009 WL 996016, at *14 (S.D. Fla. Apr.

  14, 2009) (finding that the burden lies with the challenging party to show that

  depositions were not related to an issue in the case at the time they were taken, and

  thereby show they were not wholly or partially “necessarily obtained for use in the

  case.”).

                                      III. ANALYSIS

         EWC’s motion seeks $12,622.21 in taxable costs, consisting of (1) $47.00 in

  filing fees, (2) $585.00 in service of process costs, (3) $8,910.21 in transcript costs and

  court reporter fees, (4) $315.00 in witness costs, and (5) $2,765.00 in mediation costs.

         As an initial matter, there is no dispute that EWC is the prevailing party in

  this case because the Court entered final judgment in EWC’s favor on April 20, 2020.

  [D.E. 132]. It is equally clear that the Court has subject matter jurisdiction over this

  case based on the underlying record and that EWC conferred with Plaintiff under the




               obtained for use in the case;
         (3)   Fees and disbursements for printing and witnesses;
         (4)   Fees for exemplification and the costs of making copies of any materials
               where the copies are necessarily obtained for use in the case;
         (5)   Docket fees under section 1923 of this title;
         (6)   Compensation of court appointed experts, compensation of interpreters,
               and salaries, fees, expenses, and costs of special interpretation services
               under section 1828 of this title.



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  Local Rules. As such, we need only consider whether EWC’s costs are recoverable

  under 28 U.S.C. § 1920.

           Beginning with EWC’s request for $47.00 in filing fees and $585.00 in service

  of process costs, courts have repeatedly held that these costs are recoverable under

  28 U.S.C. § 1920. See EEOC v. W & O, Inc., 213 F.3d 600, 623 (11th Cir. 2000);

  Family Oriented Cmty. United Strong, Inc. v. Lockheed Martin Corp., 2012 WL

  6575348, at *1 (M.D. Fla. Dec. 17, 2012) (“Fees of the clerk and marshal include filing

  fees are clearly taxable.”) (citing 28 U.S.C. § 1920(1)). The only caveat is that fees for

  service of a summons and subpoenas may only be taxed to the extent that they do not

  exceed the statutory fees authorized in section 1921. EWC request for service of

  process costs complies with the statutory requirements because the fee is capped at

  $65 per hour, and EWC has demonstrated that it needed to subpoena nine separate

  parties to support its case. See 28 C.F.R. § 0.114 (“For process served or executed

  personally—$65 per hour (or portion thereof) for each item served by one U.S.

  Marshals Service employee, agent, or contractor, plus travel costs and any other out-

  of-pocket expenses.”); see also Blitz Telecom Consulting, LLC v. Peerless Network,

  Inc., 2016 WL 7325544, at *3 (M.D. Fla. Aug. 31, 2016), report and recommendation

  adopted, 2016 WL 7446390 (M.D. Fla. Oct. 4, 2016) (“[T]he undersigned finds Plaintiff

  is entitled to recover $60.00 in costs for serving Defendant with the summons.”).

  Therefore, EWC is entitled to recover $47 in filing fees and $585 in service of process

  costs.




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        Next, we agree with EWC that it should be entitled to $8,910.21 in costs for

  deposition and hearing transcripts and court reporter fees. See Monelus v. Tocodrian,

  Inc., 609 F. Supp. 2d 1328, 1338 (S.D. Fla. 2009) (“Under the statute, recoverable

  costs include deposition transcript costs and attendance fees of the court reporter or

  per diem.”) (citing Ferguson v. Bombardier Serv. Corp., 2007 WL 601921, * 4 (M.D.

  Fla. Feb.21, 2007)). “In determining the necessity of a deposition, the deposition must

  only appear to have been reasonably necessary at the time it was taken, regardless

  of whether it was ultimately used at trial.” Katz v. Chevaldina, 127 F. Supp. 3d 1285,

  1292 (S.D. Fla. 2015) (citing EEOC, 213 F.3d at 620-21). And “[t]he burden lies with

  the challenging party to show that the deposition was not related to an issue in the

  case at the time it was taken.” Id. at 1292 (citing (EEOC, 213 F.3d at 621). There

  were only three depositions in this case, and they were clearly significant because

  EWC relied on one in its motion for summary judgment and the other two were for

  individuals listed on Plaintiff’s Rule 26 initial disclosures as persons who purportedly

  had knowledge about the issues in the case. Because we conclude that the transcripts

  were necessary at the time they were taken, EWC should be entitled to $8,910.21 in

  costs for deposition transcripts.

        EWC’s next request is $315 in witness fees. Witness fees are taxable as costs

  under § 1920(3). The amount that can be taxed is governed by 28 U.S.C. § 1821.

  Section 1821 permits a witness payment of $40 per day for attendance in court or at

  a deposition, a common carrier travel expense or a mileage allowance, a per diem

  subsistence allowance if an overnight stay at the place of attendance is required, and




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  other miscellaneous expenses, such as tolls, parking fees, and taxicab fares. Courts

  generally “allow an additional $5 above the $40 maximum to compensate for a

  witness’s travel time.” See HRCC, Ltd. v. Hard Rock Cafe Int’l (USA), Inc., 2018 WL

  1863778, at *10 (M.D. Fla. Mar. 26, 2018. Because EWC seeks $45 per day ($40 plus

  $5 for travel time) in costs for its seven witnesses, we find that EWC should be

  entitled to $315.00 in witness fees.

        EWC’s final request is for $2,765.00 in mediation fees. EWC concedes that

  mediation fees are generally not taxable but argues that reimbursement is reasonable

  because Plaintiff’s case is allegedly frivolous under Rule 11 of the Federal Rules of

  Civil Procedure. Because EWC is concurrently seeking to recover its mediation fees

  in its motion for Rule 11 sanctions against Plaintiff [D.E. 129] to which Plaintiff has

  responded, the Court should defer its decision on EWC’s request for $2,765.00 in

  mediation fees until it adjudicates EWC’s motion for sanctions. This also ensures

  against a double recovery.

        We conclude that EWC’s motion for taxable costs should be GRANTED in

  part and DENIED in part with a total award of 9,857.21 in taxable costs.

                                 IV.     CONCLUSION

        For these reasons, RECOMMEND that EWC’s motion for taxable costs [D.E.

  125] be GRANTED in part and DENIED in part and that EWC be awarded

  $9,857.21 in taxable costs.

        Pursuant to Local Magistrate Rule 4(b) and Fed. R. Civ. P. 73, the parties have

  fourteen (14) days from service of this Report and Recommendation within which to




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  file written objections, if any, with the District Judge. Failure to timely file objections

  shall bar the parties from de novo determination by the District Judge of any factual

  or legal issue covered in the Report and shall bar the parties from challenging on

  appeal the District Judge’s Order based on any unobjected-to factual or legal

  conclusions included in the Report. 28 U.S.C. § 636(b)(1); 11th Cir. Rule 3-1; see, e.g.,

  Patton v. Rowell, 2017 WL 443634 (11th Cir. Feb. 2, 2017); Cooley v. Comm’r of Soc.

  Sec., 2016 WL 7321208 (11th Cir. Dec. 16, 2016).

         DONE AND SUBMITTED in Chambers at Miami, Florida this 3rd day of

  June, 2020.

                                                   /s/ Edwin G. Torres
                                                   EDWIN G. TORRES
                                                   United States Magistrate Judge




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